
973 A.2d 820 (2009)
409 Md. 303
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Richard W. MOORE, Jr., Respondent.
Misc. Docket AG No. 51 September Term, 2008.
Court of Appeals of Maryland.
June 15, 2009.

ORDER
The Court of Appeals of Maryland, having considered the Joint Petition for Reprimand by Consent of the Attorney Grievance Commission of Maryland and the Respondent, Richard W. Moore, Jr., to reprimand the Respondent, it is this 15th day of June, 2009;
ORDERED, that the Joint Petition be, and it is hereby GRANTED, and the Respondent Richard W. Moore, Jr., is reprimanded by consent.
